Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF HAWAII

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kaumana Drive Partners, LLC

2.   All other names debtor
     used in the last 8 years     DBA Legacy Hilo Rehabilitation and Nursing Center
     Include any assumed          FDBA Kaumana Drive Partners I
     names, trade names and       FDBA Regency Hilo Rehabilitation and Nursing Center
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  563 Kaumana Drive
                                  Hilo, HI 96720
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hawaii                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201
                 U.S. Bankruptcy Court  - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 1 of 27
                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 1
Debtor    Kaumana Drive Partners, LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




Official Form 201
                  U.S. Bankruptcy Court  - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 2 of 27
                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                            page 2
Debtor   Kaumana Drive Partners, LLC                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                U.S. Bankruptcy Court
Official Form 201
                                       - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 3 of 27
                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                               page 3
Debtor    Kaumana Drive Partners, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 6, 2019
                                                  MM / DD / YYYY


                             X   /s/ Benjamin Meeker                                                      Benjamin Meeker
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Chuck C. Choi                                                         Date October 6, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Chuck C. Choi
                                 Printed name

                                 Choi & Ito
                                 Firm name

                                 700 Bishop Street, Suite 1107
                                 Honolulu, HI 96813
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     808-533-1877                  Email address      cchoi@hibklaw.com

                                 6435 HI
                                 Bar number and State




Official Form 201
                 U.S. Bankruptcy Court  - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 4 of 27
                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                              page 4
 Fill in this information to identify the case:

 Debtor name         Kaumana Drive Partners, LLC

 United States Bankruptcy Court for the:            DISTRICT OF HAWAII

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 6, 2019                         X /s/ Benjamin Meeker
                                                                       Signature of individual signing on behalf of debtor

                                                                       Benjamin Meeker
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




               U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 5 of 27
 Fill in this information to identify the case:
 Debtor name Kaumana Drive Partners, LLC
 United States Bankruptcy Court for the: DISTRICT OF HAWAII                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 State of Hawaii                                                 General Excise                                                                                       $1,618,015.23
 Department of                                                   Taxes
 Taxation
 Attn: Bankruptcy
 Unit
 P.O. Box 259
 Honolulu, HI 96813
 Dentons US LLP                  Paul Alston, Esq.               Legal services                                                                                         $529,740.15
 1001 Bishop Street                                              (indemnification)
 Suite 1800                      paul.alston@dento
 Honolulu, HI 96813              ns.com
 Brighton                                                        Goods or services Disputed                                                                             $473,255.93
 Rehabilitation                                                  rendered
 206 NORTH 2100
 WEST
 Salt Lake Cty, UT
 84116
 Victus Management                                               Management                                                                                             $298,110.49
 2131 Palomar                                                    services
 Airport Road, Suite
 218
 Carlsbad, CA 92011
 DHHS/Ctr for                                                    Civil Money            Contingent                                                                      $177,440.00
 Medicare and                                                    Penalties              Unliquidated
 Medicaid Svcs
 Western Div of
 Survey
 90 7th Street, Suite
 5-300 (5W)
 San Francisco, CA
 94103-6707
 Ashford & Wriston,              Kevin W. Herring,               Legal services                                                                                         $157,974.67
 LLP                             Esq.
 999 Bishop Street
 Suite 1400                      kherring@awlaw.c
 Honolulu, HI 96813              om




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 6 of 27
 Debtor    Kaumana Drive Partners, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AMN Healthcare                                                  Goods or services Disputed                                                                             $122,327.51
 Allied, Inc.                                                    rendered
 P.O. Box 281939
 Atlanta, GA
 30384-1939
 Carl Osaki, Esq.                Carl Osaki, Esq.                Legal services                                                                                         $102,414.73
 225 Queen Street
 #17H                            carl@chosaki.com
 Honolulu, HI 96813
 BKD, LLP                                                        Goods or services Disputed                                                                               $83,310.06
 P.O. Box 1190                                                   rendered
 Springfield, MO
 65801-1190
 HMAA                                                            Goods or services                                                                                        $31,266.48
 C/O PSH Ins., 737                                               rendered
 Bishop St 12th Fl.
 Honolulu, HI 96813
 Kobayashi, Sugita &             Craig K.Shikuma,                Legal services                                                                                           $29,548.90
 Goda, LLP                       Esq.                            (indemnification)
 999 Bishop Street
 #2600                           cshikuma@ksglaw.
 Honolulu, HI                    com
 96813-4430
 Healthcare                                                      Long Term Care         Unliquidated                                                                      $23,989.89
 Association of                                                  Sustainability
 Hawaii                                                          Program
 707 Richards Street,
 PH2
 Honolulu, HI 96813
 LitEcon LLP                                                     Goods or services                                                                                        $19,305.00
 10 W Broadway                                                   rendered
 #203
 Long Beach, CA
 90802
 Hawaii Electric Light                                           Services                                                                                                 $19,167.62
 Company                                                         Rendered
 P.O. Box 909
 Honolulu, HI 96808
 Direct Supply Inc.                                              Goods or services                                                                                        $17,083.73
 P.O. Box 88201                  vsukhanov@direct                rendered
 Milwaukee, WI                   s.com
 53288
 Hawaii Employers'                                               Insurance                                                                                                $14,344.26
 Mutual Insurance                                                premiums /
 Co.                                                             promissory note
 PO BOX 29050
 Honolulu, HI
 96820-1450
 SYSCO Hawaii                                        Goods or services                                                                                                    $10,642.64
 P.O. Box 855                    elizabeth.miller@sy rendered
 Honolulu, HI 96808              sco.com



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 7 of 27
 Debtor    Kaumana Drive Partners, LLC                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MEDLINE                                                         Goods or services                                                                                          $8,857.61
 INDUSTRIES INC                                                  rendered
 P.O. Box 121080,
 Dept 1080
 Dallas, TX 75312
 Premium                                                         Goods or services                                                                                          $8,580.08
 Incorporated                                                    rendered
 2644 Waiwai Loop
 Honolulu, HI 96819
 MTX of Southwest                                                Goods or services Disputed                                                                                 $7,233.39
 Florida, Inc.                                                   rendered
 P. O. Box 48426,
 Suite 227
 Tampa, FL 33647




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 8 of 27
                                                               United States Bankruptcy Court
                                                                       District of Hawaii
 In re      Kaumana Drive Partners, LLC                                                           Case No.
                                                                              Debtor(s)           Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the limited liability company named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       October 6, 2019                                         /s/ Benjamin Meeker
                                                                     Benjamin Meeker/President
                                                                     Signer/Title




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy

               U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 9 of 27
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




    Accelerated Care Plus Leasing Inc.
    13828 Collections Center DR
    Chicago, IL 60693

    Abrien Aguirre
    131 Kukuau St. Apt 202
    Apt. 202
    Hilo, HI 96720

    Sharon Ahia
    13-345 Kamaili Rd.
    Pahoa, HI 96778

    Samlyn Aiwohi
    P. O. Box 11327
    Hilo, HI 96721

    AMN Healthcare Allied, Inc.
    P.O. Box 281939
    Atlanta, GA 30384-1939

    Andre Hurst
    563 Kaumana Drive
    Hilo, HI 96720

    Lougelyn Asencion
    137 Kaumana Dr
    Hilo, HI 96720

    Ashford & Wriston, LLP
    999 Bishop Street
    Suite 1400
    Honolulu, HI 96813

    Leisha Ashley
    169 Hoku St.
    Hilo, HI 96720

    Vivan Ashton
    Hc3 Box 4646
    Keaau, HI 96749

    Mark Balicoco
    16-1614 Keaau Pahoa Rd.
    Keaau, HI 96749

    Rachel Bega
    HC 1 Box 5016
    Keaau, HI 96749

    Genesis Berona
    11 Mopua Place
    Hilo, HI 96720



    U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 10 of 27
Jesus Bilango
2608 Kinoole Street
Hilo, HI 96720

BKD, LLP
P.O. Box 1190
Springfield, MO 65801-1190

Gayle Bovee
P O Box 1435
Hilo, HI 96721

Briggs Healthcare
4900 University Ave. Suite 200
DES MOINES, IA 50266-1355

Brighton Rehabilitation
206 NORTH 2100 WEST
Salt Lake Cty, UT 84116

Brighton Rehabilitation LLC
206 North 2100 West
Salt Lake City, UT 84116

Ryan Brimley
106 Liliuokalani Lane
Hilo, HI 96720

Shania Bukoski
P.O. Box 711467
Mountain view, HI 96771

Maria Byng
135 Pakalana St.
Hilo, HI 96720

Kharen Cabuyadao
2177 B. Awapuhi St
Hilo, HI 96720

Caihua Shang
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Daylan Capello
1370 Ululani Street Apt A 208
Apt. 208
Hilo, HI 96720

Capitol Indemnity Corporation
P.O. Box 5900
Madison, WI 53705-0900



U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 11 of 27
Casamba
5210 Lewis Road #10
Agoura Hills, CA 91301

Charles A. Price, Esq.
707 Richards Street, Suite 610
Honolulu, HI 96813

Shona Compoc
110 Likeke Street
Hilo, HI 96720

Joshua Coredro
PO Box 11293
Hilo, HI 96721

Rachiel Corpuz
17-109 Kulina Rd.
Keaau, HI 96749

Veniece Corpuz
17-109 Kulina Rd. Apt. A
Keaau, HI 96749

County of Hawaii
101 Aupuni Street, Suite 4
Hilo, HI 96720

County of Hawaii, DWS
345 KEKUANAO'A ST., STE 20
Hilo, HI 96720

CPIF WTB, LLC
1910 Fairview East
Suite 200
Seattle, WA 98102

Angela Cubangbang
P.O. Box 6165
Apt. A
Hilo, HI 96720

Amelyn Dalmacio
2282 Awapuhi Street
Hilo, HI 96720

Charlene Dalmacio
PO Box 743
Kurtistown, HI 96760

Evelyne Dayoan
151308 Naupaka Street
Keaau, HI 96749



U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 12 of 27
Joy Dela Cruz
28-2829 Hawaii Belt Road
Apt. A
Pepeekeo, HI 96783

Dentons US LLP
1001 Bishop Street
Suite 1800
Honolulu, HI 96813

DHHS/Ctr for Medicare and Medicaid Svcs
Western Div of Survey
90 7th Street, Suite 5-300 (5W)
San Francisco, CA 94103-6707

Direct Supply Inc.
P.O. Box 88201
Milwaukee, WI 53288

Divina Duran
Rra Box 2418
Pahoa, HI 96778

Dyatech, LLC
805 S Wheatley St
Ste 600
Ridgeland, MS 39157

Ecolab
P.O. Box 100512
PASADENA, CA 96720-1812

EcoLab Food Safety Specialties
24198 Network Place
Chicago, IL 60673-1241

ECS BILLING AND CONSULTING SOUTH, INC.
5870 Venture Drive
Dublin, OH 43017

ECS Solutions
P.O. Box 402
Tiffin, OH 44883

Jodi Ellazar
910 Kaiwiki Road
Hilo, HI 96720

Arlene M. Estacion
25-2594 Nolemana Street
Hilo, HI 96720

Sadie Evangelista
17-175 Palaai St
Keaau, HI 96749

U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 13 of 27
Rachell Exaltacion Itabac
27-343 Govt Road
Papaikou, HI 96781

Shawn Farley
11-3927 Nahelenani St.
Volcano, HI 96785

Shelly Felix
PO Box 7207
Hilo, HI 96720

Mason Figueroa
174 Leimamo St.
Hilo, HI 96720

FirstLease, Inc.
P.O. Box 57309
Philadelphia, PA 19111-7309

Dana Freitas
563 Kaumana Drive
Hilo, HI 96720

Tiana Fretias
15-1621 23rd Ave
Keaau, HI 96749

April Gae Gaces
16-784 Kaluha Place
Keaau, HI 96749

Deanna Ganigan
134 Desha Avenue
Hilo, HI 96720

Marlene Gapusan
680 A Lama St
Hilo, HI 96720

Kimberly Gonsalves-Higa
1216 Honua Street
Hilo, HI 96720

Jayte Gonzales-Albez
1352 Kaumana Drive
Hilo, HI 96720

Guoqiang Chen
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813




U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 14 of 27
Haiyan Huang
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Tracie Hamilton
224 Kaumana Drive
Hilo, HI 96720

Hawaii Electric Light Company
P.O. Box 909
Honolulu, HI 96808

Hawaii Employers' Mutual Insurance Co.
PO BOX 29050
Honolulu, HI 96820-1450

Hawaii Gas
P.O. Box 29850
Honolulu, HI 96820-2250

Hawaii Hospital Education & Research Fdn
707 Richards Street, PH2
Honolulu, HI 96813

Hawaii Medical Service Association
818 Keeaumoku Street
Honolulu, HI 96814

Healthcare Association of Hawaii
707 Richards Street, PH2
Honolulu, HI 96813

Hilo Medical Center
1190 Wainanuenue Ave
Hilo, HI 96720-2094

Hilo Products, Inc.
41 Makaala Street
Hilo, HI 96720

Hilo SNF, LLC
45-181 Waikalua Road
Kaneohe, HI 96744

Dominic Hiro
263 Lama Street
Hilo, HI 96720

Winne Hisaiah
430 W Kawili Street
Hilo, HI 96720




U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 15 of 27
HMAA
C/O PSH Ins., 737 Bishop St 12th Fl.
Honolulu, HI 96813

Kimberly Hodson
HCR 1 BOX 5212
Keaau, HI 96749

Dennis Hokama
516 Awela St
Hilo, HI 96720

Hospice of Hilo
1011 Waianuenue Avenue
Hilo, HI 96720-2019

Hua Zhu
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Huaming Yu
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Emma Ruth Igloria
P O Box 972
Keaau, HI 96749

Jolan Iwata
Hcr 3 Box 14023
Keaau, HI 96749

Cristina Jackson
16-2066 Ohia Drive
Pahoa, HI 96778

Drena Jessop
25?2575 Nolemana Street
Hilo, HI 96720

Jianhao Hu
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Jianjun Ye
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Eleisha Johnson
16-2084 Uau 5 Rd.
Mountain View, HI 96771

U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 16 of 27
Matthew Johnston
30 Waihau Lane
Hilo, HI 96720

Kathy Kaaumoana
P O Box 1668
Keaau, HI 96749

Kekai Kahakua
151 Pilipa'a St
Hilo, HI 96720

Ngaire Kahakua
128 Waenakonu Street
Hilo, HI 96720

Loran Kahalehili
12A Melani St.
Hilo, HI 96720

Kai Xi
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Kaibo Zhang
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Lepekakukunaokala Kalani
PO Box 831115
Pepeekeo, HI 96783

Celene Kalima
1135 Waialeale Pl
Hilo, HI 96720

Azrie Kama
335 A Iwalani St.
Hilo, HI 96720

Janelle Kamahele
22 West Kawailani Street
Hilo, HI 96720

Barrilyn Kamalii
334 Luhau Place
Hilo, HI 96720

Ashlyn Kaneshiro
15-1670 21 St.
keaau, HI 96749



U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 17 of 27
Sarah Kanui
537 E Kahaopea St
Hilo, HI 96720

Ana Katoa
52 E Ohea St
Hilo, HI 96720

Kobayashi, Sugita & Goda, LLP
999 Bishop Street #2600
Honolulu, HI 96813-4430

Lito Lagundi
11A Aikane Road
Hilo, HI 96720

Caylee Ledesma
230 Kapiolani St.
Hilo, HI 96720

Janice Lee
263 Lama Street
Hilo, HI 96720

Jarom Lee
P.O. Box 461
Kurtistown, HI 96760

Jovy Lee
1505 Railroad Avenue
Hilo, HI 96720

Li Sun
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Debe Libed
2354 A Kinoole Street
Hilo, HI 96720

Libo Zhou
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

LitEcon LLP
10 W Broadway #203
Long Beach, CA 90802

Jo-An Lo
P O Box 10203
Hilo, HI 96721



U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 18 of 27
Susanne Lyle
PO Box 180324
Hawaii National Park, HI 96718

Earl Maltezo
790 Kaumana Drive
Hilo, HI 96720

Jordyn Mansinon
302 King Ave.
Apt. 104
Hilo, HI 96720

Kawaiola Medallia
466 Hinano St. Apt. 104
Hilo, HI 96721

MEDLINE INDUSTRIES INC
P.O. Box 121080, Dept 1080
Dallas, TX 75312

James Medonza
P O Box 492701
Keaau, HI 96749

Evan Mee Lee
740 Wainaku Street
Hilo, HI 96720

Maria Mena
16-1515 Uau Rd.
Mountain View, HI 96771

Erlinda Mendoza
16-2064 Hapuu Dr
Pahoa, HI 96778

Eufemia Mendoza
16-2064 Hapuu Dr
Pahoa, HI 96778

Matthew Miguel
322 Kukuau St
Hilo, HI 96720

Miller, Nash Graham & Dunn
3400 US Bancorp Tower
111 S.W. Fifth Avenue
Portland, OR 97204

Kathleen Milliken
P O Box 1127
Hilo, HI 96720



U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 19 of 27
Ludivina Molina
Hcr 2 Box 6063
Keaau, HI 96749

Melanie Molinero
114 Pilipa'a St.
Hilo, HI 96720

Jackielyn Moreno
P. O. Box 1322
Keaau, HI 96749

MTX of Southwest Florida, Inc.
P. O. Box 48426, Suite 227
Tampa, FL 33647

Rodolfo Murillo Gonzalez
PO Box 8
Ninole, HI 96773

Teisha Nacis
1656 Nohoana St.
Hilo, HI 96720

National Datacare Corporation
14155 Newbrook Drive #200
Chantilly, VA 20151

Nichole Nobriga
10 Ala Oli St.
Hilo, HI 96720

Noridian Healthcare Solutions LLC
Noridian JDDME
PO Box 6727
Fargo, ND 58108-6727

North Hawaii Community Hospital
67-1125 Mamalahoa Hwy
Kamuela, HI 96743

Johnalyn R. Nosaka
c/o Ted H.S. Hong
P.O. Box 4217
Hilo, HI 96720

Oahu Publications
P. O. Box 31000
Honolulu, HI 96849-5027

Maria Ochoa Smith
P. O. Box 1117
Kurtistown, HI 96760



U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 20 of 27
Joyce Oli
27-102 Lali Street
Hilo, HI 96720

On Shift
P.O. Box 207856
Dallas, TX 75320-7856

Danny Ortega
346 Kauila Street
Pepeekeo, HI 96783

Carl Osaki, Esq.
225 Queen Street #17H
Honolulu, HI 96813

Pacific Office Automation
14747 NW Greenbrier Pkwy
Beaverton, OR 97006

Edna Palacol
PO Box 141
Papaikou, HI 96781

Susan Pasion
523 W Kawailani St
Hilo, HI 96720

Florielee Paz
P.O. Box 492837
Keaau, HI 96749

Anabel Pidong
P O Box 492878
Keaau, HI 96749

Sara Pinc
346 Kauila St
Hilo, HI 96720

Pitney Bowes Global Financial Services
P. O. Box 371874
Pittsburgh, PA 15250

PointClickCare Technologies, Inc.
5570 Explorer Drive
Missisauga, Ontario
CANADA L4W0C4

Stephanie Popadic
297 Kulana St
Hilo, HI 96720




U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 21 of 27
Premium Incorporated
2644 Waiwai Loop
Honolulu, HI 96819

R. Pumphrey and Associates
3637 Medina Road
Suite 95LL
Medina, OH 44256

Charlotte Rawlins
PO Box 1266
Mountain View, HI 96771

REGENCY VENTURE FUND, LLLP
2131 Palomar Airport Road, Suite 218
Carlsbad, CA 92011

Registered Agent Solutions, Inc.
1701 Directors Blvd., Suite 300
Austin, TX 78744

Karly Requelman
2504 Palai Hili Street
Hilo, HI 96720

Tracy Rodrigues
322 Kukuau St.
Hilo, HI 96720

Sean Rose
13?3432 Makamae Street
Pahoa, HI 96778

Frances Ross
PO Box 262
Honomu, HI 96728

Joy Ross
P.O. Box 606
Kurtistown, HI 96760

Mary Ross
28-1708 Old Mamalahoa HWY
Honomu, HI 96728

Chelsie Saiho
PO Box 5855
Hilo, HI 96720

Randy Saluda
840 Iolani Street
Hilo, HI 96720




U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 22 of 27
Nestor Saludares
392 Kaiwiki Road
Hilo, HI 96720

Thalene Santiagao
335 Keonaona St
Hilo, HI 96720

Karen Sawyer
P. O. Box 5692
Hilo, HI 96720

Harold Seales
P O Box 1651
Keaau, HI 96749

SECLOUD LLC
7720 NE Why 99, Ste D177
Vancouver, WA 98665

SECURUS SYSTEMS INC
P. O. Box 822772
Vancouver, WA 98682-0059

Tammy Silva
2506 Nohona Street
Hilo, HI 96720

Silversage Management Services, PLLC
P.O. Box 25523
Chattanooga, TN 37422

SilverSage Physician Services of Hawaii
P.O. Box 25523
Chattanooga, TN 37422

Eden Sinco
27-343 Government Road
Papaikou, HI 96781

Spectrum 8109 10 200 0315306
P.O. Box 30050
Honolulu, HI 96820-0050

Spectrum Business 083720201
P.O. Box 30050
Honolulu, HI 96820-0050

Spectrum Business Acct#8109102000297017
P.O. Box 30050
Honolulu, HI 96820-0050

Spectrum Business Acct#8109102000314309
P.O. Box 30050
Honolulu, HI 96820-0050

U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 23 of 27
STAPLES BUSINESS ADVANTAGE
P.O. Box 105638
Atlanta, GA 30348-5638

State of Hawaii Department of Taxation
Attn: Bankruptcy Unit
P.O. Box 259
Honolulu, HI 96813

State of Hawaii, Dept of Human Svcs
P.O. Box 339
Honolulu, HI 96809-0339

State of Hawaii, DLIR, Unemployment Ins
830 Punchbowl St. Rm 437
Honolulu, HI 96813

Michael Stevens
250 Kaiulani Street
Apt. 204
Hilo, HI 96720

Suisan Co. Ltd.
P.O. Box 366
Hilo, HI 96721-0366

SYSCO CORPORATION
P. O. Box 855
Honolulu, HI 96808

SYSCO Hawaii
P.O. Box 855
Honolulu, HI 96808

Marciel Tagalicud
P O Box 1845
Pahoa, HI 96778

Franzes Lyka Talon
#12 Iwasaki Camp
Keaau, HI 96749

Melissa Tasaki
242 Kapiolani St.
Hilo, HI 96720

Justin Texeira
112 Haile Street Apt 204
Unit 9A
Hilo, HI 96720

TIAA Bank
P.O. Box 911608
Denver, CO 80291-1608


U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 24 of 27
Ting Shen
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Kaye Karren Topenio
PO Box 870
Volcano, HI 96785

Elise Trumble
P O Box 1755
Hilo, HI 96721

TTMM ENTERPRISES
8022 S Rainbow Blvd #207
Las Vegas, NV 89139

Kiani Urbano-Pepe'e
1237 komohana St.
Hilo, HI 96720

Victus Management
2131 Palomar Airport Road, Suite 218
Carlsbad, CA 92011

Noland Villasista
P O Box 25
Apt 501
Honomu, HI 96728

Weilin Chen
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Wenjuan Huang
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Aliyah Wery
1352 Kaumana Dr.
Hilo, HI 96720

Lena Woodruff
P.O. Box 2293
Pahoa, HI 96778

Xiaojun Lou
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813




U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 25 of 27
Xiaotian Gao
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

XYNERGY Healthcare Capital II LLC
2650 N Military Trail, Suite 420
Boca Raton, FL 33431

Charlene Yamasaki
1475 Kikaha Street
Hilo, HI 96720

Yaping Lou
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Mark Yaplag
135 Alani St
Hilo, HI 96720

Neander Ybanez
338 Ainaola Dr
Hilo, HI 96720

Yezi-Ii Zhang
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Ying Lu
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Kanani Yockman
483 Keonaona St.
Hilo, HI 96720

Yukwan Kot
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813

Zhenghao Sun
c/o Terence J. O'Toole, Esq.
733 Bishop Street, Suite 1900
Honolulu, HI 96813




U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 26 of 27
                                                               United States Bankruptcy Court
                                                                         District of Hawaii
 In re      Kaumana Drive Partners, LLC                                                               Case No.
                                                                                 Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Kaumana Drive Partners, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 REGENCY VENTURE FUND, LLLP
 2131 Palomar Airport Road, Suite 218
 Carlsbad, CA 92011




    None [Check if applicable]




 October 6, 2019                                                     /s/ Chuck C. Choi
 Date                                                                Chuck C. Choi
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Kaumana Drive Partners, LLC
                                                                     Choi & Ito
                                                                     700 Bishop Street, Suite 1107
                                                                     Honolulu, HI 96813
                                                                     808-533-1877 Fax:808-566-6900
                                                                     cchoi@hibklaw.com




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy

              U.S. Bankruptcy Court - Hawaii #19-01266 Dkt # 1 Filed 10/06/19 Page 27 of 27
